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  1 LAW OFFICES OF DALE K. GALIPO
    Dale K. Galipo, Esq. (SBN 144074)
  2 dalekgalipo@yahoo.com
    Marcel F. Sincich, Esq. (SBN 319508)
  3 msincich@galipolaw.com
    21800 Burbank Boulevard, Suite 310
  4 Woodland Hills, CA 91367
    Phone: (818) 347-3333 | Fax: (818) 347-4118
  5 LAW OFFICES OF GRECH & PACKER
  6 Trenton  C. Packer (SBN 241057)
    tpacker@grechpackerlaw.com
  7 7095  Indiana Ave Ste 200
    Riverside, CA 92506
  8 Phone: (951) 682-9311
    Attorneys for Plaintiff EDGAR SOLIS
  9
    ROB BONTA
 10 Attorney General of California
    RHONDA L. MALLORY
 11 Supervising Deputy Attorney General
    DAVID KLEHM
 12 Deputy Attorney General
      600 West Broadway, Suite 1800
 13 San Diego, CA 92101
      P.O. Box 85266
 14 San Diego, CA 92186-5266
      Telephone: (619) 738-9567
 15 Fax: (619) 645-2581
      E-mail: David.Klehm@doj.ca.gov
 16
    Attorneys for Defendant STATE OF CALIFORNIA and MICHAEL BELL
 17
                           UNITED STATES DISTRICT COURT
 18
                        CENTRAL DISTRICT OF CALIFORNIA
 19
    EDGAR SOLIS,                             Case No.: 5:23−cv−00515−HDV−JPR
 20
                  Plaintiff,                 [Honorable Hernán D. Vera]
 21                                          Magistrate Judge Jean P. Rosenbluth
                       v.
 22                                          NOTICE OF LODGING OF
 23 STATE    OF  CALIFORNIA;    and          [PROPOSED] FINAL PRETRIAL
    MICHAEL BELL,                            CONFERENCE ORDER
 24
                   Defendants.               Final Pretrial Conference:
 25                                          Date: October 8, 2024
                                             Time: 10:00 a.m.
 26                                          Trial:
                                             Date: October 29, 2024
 27                                          Time: 09:00 a.m.
                                             Place: Courtroom 10D
 28
                                            1
                                    NOTICE OF LODGING
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                                   #:1208



  1 TO THIS HONORABLE COURT:
  2        The Parties in the above-captioned matter hereby provide notice of the
  3 lodging of the Parties’ Proposed Pretrial Conference Order.
  4
  5        Respectfully Submitted,
  6
  7 DATED: September 24, 2024          LAW OFFICES OF DALE K. GALIPO
                                       LAW OFFICES OF GRECH & PACKER
  8
  9                                    By:       /s/   Marcel F. Sincich
                                       Dale K. Galipo
 10                                    Marcel F. Sincich
                                       Trent C. Packer
 11                                    Attorney for Plaintiff
 12
 13 DATED: September 24, 2024          ROB BONTA
                                       Attorney General of California
 14                                    RHONDA L. MALLORY
                                       Supervising Deputy Attorney General
 15
 16
                                       By:      /s/ David Klehm
 17                                    DAVID KLEHM
                                       Deputy Attorney General
 18                                    Attorneys for Defendant State of California (by
                                       and through the California Highway Patrol)
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                                      NOTICE OF LODGING
